
1 N.Y.2d 707 (1956)
In the Matter of the Arbitration between Benjamin Burkin et al., Appellants, and Joseph Katz, Respondent.
Court of Appeals of the State of New York.
Submitted March 12, 1956.
Decided March 22, 1956.
Motion to have the appeal heard upon the record in this case together with available copies of the records before the Appellate Division in Matter of Burkin (Katz) (1 A D 2d 655) and in Matter of Katz (Fulton-Washington Corp.) (1 A D 2d 657, and 1 A D 2d 658) granted.
Cross motion to dismiss appeal denied without prejudice to a renewal thereof upon argument of the appeal.
